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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MARCUS O’DELL

                         Plaintiff,                Case No.
v.
                                                   Hon.
FCA US, LLC.,
GP STRATEGIES CORPORATION, and
POPULUS GROUP, LLC.
                 Defendants.

GOLD STAR LAW, P.C.
David A. Hardesty (P38609)
Caitlin E. Malhiot (P76606)
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                                  COMPLAINT

      Plaintiff Marcus O’Dell through his attorneys, Gold Star Law, P.C., for his

Complaint states:


                    PARTIES, JURISDICTION AND VENUE

      1.    Plaintiff Marcus O’Dell ("O’Dell") is an individual who resides in

West Bloomfield, Oakland County, Michigan.

      2.    Defendant FCA US, LLC. (“FCA”) is a Foreign Limited Liability

Corporation which conducts business in Auburn Hills, Oakland County, Michigan.
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      3.     Defendant GP Strategies Corporation ("GP") is a Foreign Profit

Corporation which conducts business in Auburn Hills, Oakland County, Michigan.

      4.     Defendant Populus Group, LLC. (“Populus”) is a Michigan Limited

Liability Corporation with its corporate office in Troy, Oakland County, Michigan.

      5.     This action arises under the Fair Labor Standards Act of 1938

(“FLSA”) 29 U.S.C. 201, et seq., and jurisdiction of this Court is invoked pursuant

to 28 U.S.C. 1331.

      6.     Defendants reside within this judicial district and the claims asserted

in the action arose within this district. Venue is proper in this Court pursuant to 28

U.S.C. 1391(b).

                           FACTUAL ALLEGATIONS

      7.     Defendant FCA owns and operates an automobile manufacturing

company.

      8.     Defendant GP owns and operates a learning and development

consultant company.

      9.     Defendant Populus owns and operates an employment solutions

company.

      10.    O’Dell began working for Defendants as an Automotive Technical

Trainer on approximately March 14, 2016 until March 22, 2018.




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        11.   Defendants compensated O’Dell at a rate of $28.00 per hour from the

start of his employment through February 2018.

        12.   From February 2018 through March 22, 2018, Defendants

compensated O’Dell $29.60 per hour.

        13.   Defendants regularly scheduled Plaintiff O’Dell to work an average of

60 hours per week.

        14.   All hours worked by Plaintiff, including overtime hours, were worked

at the direction and with the sufferance of Defendants.

        15.   Pursuant to the FLSA, Defendants were required to compensate

Plaintiff at 1 ½ times his rate of pay for all hours worked in excess of 40 hours per

week.

        16.   Defendants never compensated Plaintiff at 1 ½ times Plaintiff's rate of

pay for hours worked in excess of 40 hours per week. Defendants instead

compensated Plaintiff at his regular rate of pay for the overtime hours.

        17.   Plaintiff was not, at any time during his employment, exempt from the

pay requirements of the FLSA.

        18.   Defendants’ failure to comply with the FLSA was willful, with

knowledge, or with reckless disregard of the statutory requirements under the

FLSA.




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                     CAUSE OF ACTION
     VIOALTION OF THE FAIR LABOR STANDARDS ACT OF 1938

      19.    Plaintiff incorporates the foregoing allegations of this Complaint as if

fully stated herein.

      20.    Defendants are “employers” within the coverage of the FLSA. 29

U.S.C. 203(d).

      21.    Plaintiff is an “employee” within with coverage of the FLSA. 29

U.S.C. 203(e).

      22.    Defendants are an “enterprise engaged in commerce” as defined by

the FLSA. 29 U.S.C. 203(s).

      23.    Defendants had revenues in excess of $500,000 per year during the

time of Plaintiff’s employment with Defendants. 29 U.S.C. 203(s).

      24.    Defendants were required to compensate Plaintiff at 1 ½ times his

regular hourly rate for hours worked in excess of 40 per week.

      25.    Defendants failed to compensate Plaintiff at 1 ½ times his regular

hourly rate for hours worked in excess of 40 per week.

      26.    Pursuant to Section 216(b) of the FLSA, Defendants are liable to

Plaintiff for his unpaid wages, plus an additional equal amount as liquidated

damages, together with reasonable attorney fees and costs.

      WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment against Defendants, jointly and severally, in an amount to be determined

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at trial, together with their costs and reasonable attorney fees incurred herein, and

such other relief as this Court deems just and equitable.



                                              Respectfully submitted,

                                              GOLD STAR LAW, P.C.

                                                /s/Caitlin E. Malhiot
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Dated: July 10, 2018




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